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  BRUCE A, BLAKEMAN                        189                             THOMAS A. ADAMS
   County Executive                                                          County Attorney




                                     COUNTY OF NASSAU
                             OFFICE OF THE COUNTY ATTORNEY



                                                                     October 30, 2024
 Via ECF
 Hon. Anne Y. Shields
 United States District Court/100 Federal Plaza
 Central Islip, New York 11722
                Re: Koskowski v County of Nassau (2:24-CV-01669 (AYS)
 Dear Magistrate Judge Shields:
         This office represents defendants Nassau County, Nassau County Police Department,
 Nassau County Police Chief Patrick J. Ryder, Nassau County Police Officer Michael
 Marzocca, Nassau County Police Officer Christopher Varga, Nassau County Police Officer
 Ryan Gale and Nassau County Police Officer Walter Palm (collectively, the “County
 Defendants”). Together with plaintiff Richard Kosowski’s attorney, Cory H. Morris, Esq., the
 parties respectfully jointly submit the following letter to advise the Court of the status of
 discovery in this action.
 1. Nature of the Action. Plaintiff was arrested by members of the Nassau County Police
 Department on September 8, 2022 and was charged with Obstructing Governmental
 Administration in the Second Degree (PL 195.05, a Class A Misdemeanor), as well as
 Disorderly Conduct/Create Hazardous or Offensive Condition, PL 240.20.07, a Violation.
 Both charges were dismissed following trial. In this action plaintiff claims that defendants
 violated his First Amendment rights, and are liable for false arrest and malicious prosecution
 for arresting him due to his prior acknowledged activity in video recording Nassau County
 police officers performing their lawful duties. As the Court and counsel well know, such
 activity does not constitute a crime, and as such provides the police no probable cause for
 arrest. Plaintiff claims that the Police Department has an unconstitutional “no recording”
 policy of arresting Nassau County citizens for video recording police officers performing their
 lawful duties, as well as other Nassau County employees performing their official duties,
 thereby creating Monell liability against Nassau County.
 2. Plaintiff’s Position.
         Defendants still have not fully complied with the Order of this Court dated July 15,
 2024.
         Regardless of Defendants’ averments, Plaintiff is entitled to copies of all Intelligence
 Bulletins which involve individuals who may have recorded the activities of Nassau County
 Police Officers. All of the objections raised by Defendants to the production of these Bulletins
 can be addressed with proper redaction. The existence of the Bulletin involving Plaintiff
 Richard Kosowski clearly indicates there may be other similar Bulletins. They must be
 produced.

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                             516-571-3056, FAX 516-571-6684, 6604
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         Defendants raise the issue of “law enforcement privilege” in some detail. However,
 that privilege really deals with matters involving criminals, not law abiding citizens and
 government employees like Plaintiff Richard Kosowski who is definitely not a criminal.
 Creating Intelligence Bulletins about law-abiding citizens, provides a basis for Plaintiff’s
 claims that there exists a policy and practice in the Nassau County Police Department which
 establishes Monell liability.
         Providing copies, redacted if necessary, of Intelligence Bulletins which relate to
 interactions between Nassau County Police Department officers performing their duties and
 members of the public recording those officers performing those activities will not disclose
 information (1) pertaining to law enforcement techniques and procedures, (2) undermine the
 confidentiality of sources, (3) endanger witnesses and law enforcement personnel, (4)
 undermine the privacy of individuals involved in an investigation if properly redacted, or (5)
 seriously impair the ability of a law enforcement agency to conduct future investigations, the
 only proper grounds for asserting the “law enforcement privilege.”
         This action is certainly not frivolous and Defendants frankly claim that the
 information about their policies and practices which might be shown through Intelligence
 Bulletins is “secret” and certainly not lawfully available elsewhere. There is a compelling
 need to provide this information to the Plaintiff Richard Kosowski in order to enable him to
 establish his Monell claims against the Defendants.
         Defendants assert that the only viable causes of action in the Complaint are for false
 arrest and malicious prosecution, but that is not the case. The First Amendment claim is the
 basis for liability under the Civil Rights Acts, 42 U.S.C. § 1983.
         The proper way for Defendants to assert their assertion that Plaintiff’s claim that the
 Nassau County Police Department has an unconstitutional “no recording” policy is a
 frivolous, vexatious and bad faith claim is on a motion for Summary Judgment or at the trial
 of this action before a jury.
        Without further discovery, including deposition testimony of certain officials, there is
 no way to determine the circumstances of the origin and history of the written policies and
 procedures entitled “Right to Record Law Enforcement Related Activities” and “Right to
 Record Government Officials.” The report of a conversation with Christopher V. Todd, Esq.,
 Deputy Bureau Chief of the Nassau County Police Department’s Legal Bureau, is of no
 evidentiary value unless reduced to a sworn Declaration subject to examination at a
 deposition.
 3. Defendants’ Position. Defendants completely deny plaintiff’s claims and, instead, have
 provided plaintiff’s counsel with the attached documents and policies expressly directing
 police officer not to arrest citizens recording County employees since such activity does not
 constitute a crime and therefore, no probable cause to arrest such citizens exists. To instruct
 patrol officers to not arrest citizens recording County employees performing their official
 duties, the Police Department circulated an Intelligence Bulletin, such as the one attached
 hereto, in all Police Department precincts, agencies and bureaus. Such Intelligence Bulletins
 are strictly confidential and used for law enforcement purposes only and are not meant to be
 distributed to the public at large. Unfortunately, through an unknown informant in the Police
 Department, plaintiff unlawfully obtained a copy of the attached Intelligence Bulletin
 pertaining to himself.

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         Between August 8-12, 2024 I transmitted by electronic means the entire contents of
 the case files of the Nassau County District Attorney and the Nassau County Police
 Department containing all of the documents and other information regarding the arrest of
 plaintiff on September 8, 2022. Defendants have not yet served formal discovery demands
 upon plaintiff’s attorneys. I intend to do so no later than October 31, 2024.
         Plaintiff’s attorneys have demanded production of all such Intelligence Bulletins
 existing in the possession of the Police Department, including such bulletins which pertain to
 individuals other than plaintiff himself, to prove that the Police Department engages in an
 unconstitutional “no recording” policy of arresting Nassau County citizens for video
 recording police officers performing their lawful duties, as well as other Nassau County
 employees performing their official duties, thereby creating Monell liability against Nassau
 County.
         I have advised plaintiff’s attorneys that defendants will not produce any Intelligence
 Bulletins pertaining to any Nassau County citizens in addition to the Intelligence Bulletin
 which plaintiff unlawfully obtained. These bulletins and related information are protected
 from disclosure under the law enforcement privilege. For instance, other than plaintiff’s
 unlawful procurement of his own Intelligence Bulletin, any and all Intelligence Bulletins
 relating to other Nassau County citizens are protected by the law enforcement privilege.
        The law enforcement privilege is a qualified privilege which establishes a presumption
 against disclosure for information (1) pertaining to law enforcement techniques and
 procedures, (2) that would undermine the confidentiality of sources, (3) that would endanger
 witnesses and law enforcement personnel, (4) that would undermine the privacy of individuals
 involved in an investigation, or (5) that would seriously impair the ability of a law
 enforcement agency to conduct future investigations. Morales v. United States, No. 18-CV-
 4247 (CBA) (RER), 2020 U.S. Dist. LEXIS 216777, 2020 WL 6799681, at *2 (E.D.N.Y.
 Nov. 19, 2020) (quoting In re The City of New York, 607 F.3d at 948).
          “The presumption against disclosure may be overcome by a party demonstrating that
 (1) its suit is non-frivolous, (2) the information is not available elsewhere, and (3) the party
 has a compelling need for the information.” Id. at 2. Where such a showing is made, the court
 must weigh the interests in favor of and against "disclosure to determine whether the
 information should be disclosed.” Id.
        In this case, the law enforcement privilege should apply because the information
 sought by plaintiff, i.e., the Intelligence Bulletins and related information, concerns law
 enforcement techniques and procedures, information that would undermine the privacy of
 individuals involved in the investigation and, if revealed beyond the parties, would seriously
 impair the ability of law enforcement agencies to conduct future investigations. Furthermore,
 since the only viable causes of action in the Complaint are for false arrest and malicious
 prosecution, plaintiff’s claim that the Police Department has an unconstitutional “no
 recording” policy is the true essence of a frivolous, vexatious and bad faith claim.
         The third edition of Webster's defines “vexatious” as "causing or likely to cause
 vexation,” or “lacking justification and intended to harass.” Webster's Third New
 International Dictionary 2548 (3d ed. 1993). Black's defines a “frivolous” pleading as one
 “clearly insufficient on its face,” and a “frivolous” claim as one for which a proponent "can
 present no rational argument based upon the evidence or law in support of that claim.” Black's
 Law Dictionary 668. Webster’s defines “frivolous” as "of little weight or importance,” and
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 “having no basis in law or in fact.” Webster's Third New International Dictionary 913.
         However, as seen in the attached documents, defendants did produce numerous written
 policies and procedures entitled “Right to Record Law Enforcement Related Activities” and
 “Right to Record Government Officials.” These policies and procedures completely contradict
 plaintiff’s insistence that Police Department has a “no recording” policy. In fact, I asked this
 specific question to Christopher V. Todd, Esq., Deputy Bureau Chief of the Police
 Department’s Legal Bureau, who categorically denied that any such “no recording” police,
 either written or “unwritten,” exists. I have repeatedly told plaintiffs that no such “no
 recording” policy exists. Frankly, it is impossible to produce such a “no recording” policy for
 plaintiff’s attorneys since no such policy exists, or ever existed. For the foregoing reasons
 defendants respectfully request that the Court issue a protective order preventing the
 disclosure of all Intelligence Bulletins and related information other than plaintiff’s own
 Intelligence Bulletin, which again, plaintiff unlawfully obtained.
 Respectfully submitted,

 CORY H. MORRIS, PC
 Attorney for Plaintiff

 By: /s/ Victor John Yannacone, jr., of counsel
 Victor John Yannacone, jr., of counsel

 THOMAS A. ADAMS Nassau County Attorney,
 Attorney for Defendants

 By: /s/ Ralph J. Reissman
 Ralph J. Reissman, Deputy County Attorney




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